                                                                           ORDER
                                                          The Motion (Doc. No. 283) is denied as moot.
                                                          IT IS SO ORDERED.
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE

BRAD AMOS,                                    )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )
                                              )        Case No. 3:21-cv-00923
                                              )        Judge Richardson
THE LAMPO GROUP, LLC,                         )        Jury Demand
                                              )
                                              )
       Defendant.                             )


      MOTION TO ALLOW BRIEF SUR-REPLY TO DEFENDANT’S REPLY TO
              PLAINTIFF’S RESPONSE TO MOTION TO QUASH
       Defendant in its aforementioned reply (Doc 274) improperly raised new issues not raised

in their original Motion in an attempt to disallow Plaintiff a chance to respond to more personal

allegations against Plaintiff’s attorney. Plaintiff simply wishes to address these new issues raised

in the proposed sur-reply attached hereto as Exhibit A.

                                              Respectfully Submitted,


                                              THE EMPLOYMENT AND COMMERCE
                                              LAW GROUP,

                                              /s/ Jonathan A. Street
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Case 3:21-cv-00923         Document 293           Filed 07/15/25   Page 1 of 1 PageID #: 6155
